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                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII
STEVEN JAY PINCUS HUETER, et              CIVIL NO. 21-00226 JMS-KJM
al.,
                                          FEDERAL DEFENDANTS’
                  Plaintiff,              MEMORANDUM IN SUPPORT OF
                                          MOTION TO DISMISS AMENDED
            vs.                           COMPLAINT [ECF NO. 14] AND
                                          OPPOSITION TO MOTION FOR
LEALAIALOA FRITZ MICHAEL                  TEMPORARY RESTRAINING
KRUSE, CHIEF JUSTICE OF                   ORDER [ECF NO. 17]
AMERICAN SAMOA, et al.,

                  Defendants.
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  FEDERAL DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION
  TO DISMISS AMENDED COMPLAINT [ECF NO. 14] AND OPPOSITION
  TO MOTION FOR TEMPORARY RESTRAINING ORDER [ECF NO. 17]

 I.    INTRODUCTION
       Plaintiffs, residents of American Samoa, bring this action against the

 Secretary of the Interior (the “Secretary”), and F. Michael Kruse, Chief Justice of

 American Samoa1 (“Justice Kruse,” and together, the “Federal Defendants”)2, as

 well as James McGuire (“Defendant McGuire”). Plaintiffs’ claims arise from,

 and/or relate to matters pending in the High Court of American Samoa (the “High

 Court”) before Justice Kruse. The matters concern land rights to, and clean-up of,

 an area known as Alega or the private Alega Marine Protected Area (“Alega”).

 Plaintiffs allege that Justice Kruse engaged in an ex parte communication with

 Defendant McGuire, and subsequently issued an interlocutory order that somehow

 interferes with the clean-up of Alega.

       In this Court, Plaintiffs seek a declaration granting Plaintiffs Chief Faamuli


 1
  Justice Kruse is an employee of the U.S. Department of the Interior, although he
 solely acts in a territorial capacity as the Chief Justice of American Samoa.
 2
   Although the Amended Complaint purports to allege claims against the Secretary
 and Justice Kruse “as individuals” in addition to their “official capacity”, Plaintiffs
 do not identify any basis for an individual capacity claim as to the Secretary.
 Further, the injunctive relief sought relates to the Federal Defendants’ official
 capacities. To the extent Plaintiffs allege individual capacity claims, however, the
 Secretary and Justice Kruse are currently in the process of requesting individual
 capacity representation by the Department of Justice, pursuant to 28 C.F.R. §
 50.15. Although a representation decision has not yet been made, this brief
 includes some argument regarding individual capacity claims.
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  Pete Faamuli and Rosalia Tisa Faamuli (the “Faamuli Plaintiffs”) rights to

  administer Alega; an injunction preventing Justice Kruse from “interfering” with

  the cleanup of Alega; and monetary damages. Plaintiffs filed a Motion for

  Temporary Restraining Order (“Motion for TRO”), seeking the aforementioned

  declaratory and injunctive relief.

        Plaintiffs’ Motion for TRO should be denied and the Amended Complaint

  dismissed. Plaintiffs’ claims suffer from multiple jurisdictional deficiencies, in

  addition to a failure to state claim. Further, even if jurisdiction was proper – which

  it is not – abstention is proper, as this action is a collateral attack on issues pending

  before the High Court.

  II.   BACKGROUND

        A. Judicial System of American Samoa

        American Samoa is an unincorporated territory of the United States.3 See 48

  U.S.C. § 1661. Congress has plenary power over American territories. U.S.

  Const. art. IV, § 3, cl. 2. Congress has provided that “all civil, judicial, and

  military powers [in American Samoa] shall be vested in such person or persons and

  shall be exercised in such manner as the President of the United States shall




  3
   Unincorporated territories are not intended for statehood and “only fundamental
  [United States] constitutional rights apply[.]” King v. Morton, 520 F.2d 1140, 1146
  (D.C. Cir. 1975).

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  direct.” Corp. of Presiding Bishop of the Church of Jesus Christ of the Latter-Day

  Saints v. Hodel, 830 F.2d 374, 376 (D.C. Cir. 1987).

        By Executive Order, authority over American Samoa and responsibility for

  administering its government is vested with the Secretary. See Exec. Order No.

  10,264 (June 29, 1951). Exercising the authority delegated to him, the Secretary

  approved the revised Constitution of American Samoa, which – in relevant part –

  created the judicial branch, consisting of a High Court, District Courts, and “such

  other courts as may from time to time be created by law.”4 Am. Samoa Const. at

  Art. III § 1. The Secretary appoints the Chief Justice of American Samoa and the

  Associate Justices of the High Court, id. at Art. III § 3, and may remove them for

  cause. Am. Samoa Code (“A.S.C.A.”) § 3.1001(b).5

        The High Court is divided into a Trial Division, a Land and Titles Division,

  and an Appellate Division. A.S.C.A. § 3.0207(a). The Appellate Division has

  jurisdiction to review, on appeal, final decisions of the Trial Division and Land and

  Titles Division of the High Court. A.S.C.A § 3.0208(c). Thus, if a party is


  4
   The High Court is considered a “territorial court” under Article IV of the United
  States Constitution. See Majhor v. Kempthorne, 518 F. Supp. 2d 221, 229 (D.D.C.
  2007). American Samoa does not have a federal district court and is not part of the
  District of Hawaii. Barlow v. Tauese Va'aomala Sunia, Civil No. 18-00423-JAO-
  KJM, 2019 WL 5929736, at *1–2 (D. Haw. Nov. 12, 2019) (citing 28 U.S.C. §§
  81-144).
  5
   Title 3 of the A.S.C.A. is attached hereto as Exhibit “A” to the Declaration of
  Sydney Spector (“Spector Decl.”).

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  unsatisfied with a final ruling in the Land and Titles Division, that decision can be

  appealed to the Appellate Division of the High Court.

        If dissatisfied with a ruling of the Samoan Judiciary, A.S.C.A. § 43.0804

  implies that the Secretary has the right to reverse decisions. However, the

  Secretary has never overruled a decision by the Samoan Judiciary. Additionally,

  the United States District Court for the District of Columbia has held that it “is

  competent to judge the Secretary’s administration of the government of American

  Samoa by constitutional standards and, if necessary, to order the Secretary to take

  appropriate measures to correct any constitutional deficiencies.” King, 520 F.2d at

  1144 (emphasis added); see also Barlow, 2019 WL 5929736, at *2.

        B. Relevant Proceedings in the High Court of American Samoa

        In September 2020, Bluesky Communications (“Bluesky”), a

  telecommunications carrier, filed suit in the High Court, Land and Titles Division,

  against Tisa Faamuli, Michael Kirk aka “Candyman”, Faamuli Pete Faamuli, and

  Alega Preservation Institute, seeking an injunction preventing the defendants from

  interfering with, or damaging, Bluesky’s fiber optic cables in the village of Alega.6

  See HCLT #28-2020, Complaint, Exhibit “B” to Spector Decl.

        On November 12, 2020, the court issued an Order denying Bluesky’s



  6
   Plaintiff Steven Jay Pincus Heuter (“Plaintiff Heuter”) is not a party to HCLT
  #28-2020.
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  Motion for Preliminary Injunction. Exhibit “C” to Spector Decl.” In relevant part,

  the court held:

               This is a controversy relating to land. Therefore, this
               Court has exclusive subject matter jurisdiction pursuant
               to A.S.C.A. § 3.0208(b)(2). . . . There is, however,
               contention among the parties as to whether the subject
               matter land is ‘communal’ or ‘individually-owned.’ If it
               is communal, then the pre-trial proceedings before the
               Office of Samoan Affairs (‘OSA’), as mandated by
               A.S.C.A § 43.0302, is a prerequisite to our assertion of
               jurisdiction at trial on the merits. . . . However, for the
               purposes of interlocutory injunctive relief, OSA
               proceedings are not required. A.S.C.A. § 43.0302(b); see
               also A.S.C.A. §§ 4.0303-4.0304. . . .

  Id. at 3. The court subsequently discussed the controversy as to the communal

  nature of the land at issue, and held that the court lacked jurisdiction until a

  certificate of irreconcilable dispute (“CID”) was issued by the Secretary of Samoan

  Affairs under A.S.C.A. § 43.0202 and filed with the clerk of court. Id. at

  6. Further, the court awarded interim relief in favor of defendants, enjoining

  Bluesky from “failing, to remove all its wiring-related detritus and decaying poles

  left lying on and around the Alega coastline and beach area.” Id. at 11-12.

        On March 3, 2021, Bluesky7 moved to vacate or amend the November 12,

  2020 Order. Ex. “D” to Spector Decl. Bluesky claimed that the defendants (two




  7
   In the filings after the November 12, 2020 order, the plaintiff is identified as AST
  Telecom LLC dba Bluesky Communications.

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  of which are Plaintiffs in this matter) were obstructing its ability to remove the

  detritus. Bluesky thus requested an order enjoining the defendants from interfering

  with Bluesky’s removal of its cables and equipment. Id.

        On March 31, 2021, the court held a hearing on Bluesky’s motion to vacate

  or amend the November 12, 2020 order. Spector Decl. Ex. “E”. The minutes for

  the hearing state: “In anticipation of judicial economy w/ the need to go to Samoan

  Affairs I’m going to join the Gov’t in this lawsuit because in companion lawsuit

  filed in CA division it references ‘beach damages.’8 I want also Gov’t involved to

  give input on what the road easement means as well. . . . No remedy at this point

  and time, we need all necessary parties before us.” Spector Decl. Ex. “E”.

        On April 6, 2021, the Court issued an Order placing the American Samoan

  Government (“ASG”) on notice of the action and ordering the parties to cease from

  making further filings on the merits. Ex. “H” to Spector Decl. The court held that

  the defendants (two of which are Plaintiffs in the instant action) alleged that


  8
    It is unclear which companion case the court was referring to. HCCA #07-2021,
  filed on February 18, 2021 by Faamuli Pete Faamuli, Steven Hueter, and others
  against the American Samoan Government and others, alleges violation of
  pollution laws. See Ex. “F” to Spector Decl. HCCA #03-2021, filed on January
  22, 2021, was brought by the Faamuli Plaintiffs, Michael Kirk aka “Candyman”,
  and others against AST Telecom LLC and others, seeking that defendants stop
  corporate pollution of Alega. See Ex. “G” to Spector Decl. The latter case is
  currently stayed for the same reason as HCLT #28-2020: the Faamulis’ allegation
  that Alega is communal land requires OSA involvement to mediate the resolution
  and a CID before the High Court may exert jurisdictional authority.

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  Bluesky engaged in corporate pollution in certain areas permanently or

  periodically covered by tidal waters up to the line of high tide in Alega. Thus, 48

  U.S.C. § 1705 was implicated, and ASG was therefore a necessary party. Further,

  the court repeated its holding that a CID from the OSA was required before the

  court could exercise jurisdiction of the matter. Id. There is no final decision of the

  Land and Titles Division. Although there is no decision specifically ordering

  clean-up, there also does not appear to be a decision preventing clean-up of Alega.

        Plaintiffs allege that an improper ex parte communication occurred between

  Justice Kruse and Defendant McGuire at the March 31, 2021 hearing in HCLT

  #28-2020, and submit one page of the transcript from the hearing as support. See

  ECF No. 17-6 at 5 (PageID #: 462). However, the transcript does not support any

  inference of an improper ex parte communication. The transcript merely shows

  that, at the very start of the hearing, Justice Kruse asked Defendant McGuire (who

  does not appear to have been representing a party in the action) to come up to the

  bench. Id. There is no indication that the communication related to the litigation

  at all or was otherwise improper. It is also unclear whether McGuire has any

  connection to the litigation. Further, Defendant McGuire submitted a declaration

  to this Court, explaining that the communication related to payment of bar dues,

  and had nothing to do with Alega or the lawsuit. (ECF No. 79-2 at ¶ 6.)




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        C.     The Amended Complaint

         Plaintiffs bring suit against Justice Kruse and the Secretary to “stop

  interference with cleanup of corporate and government pollution on a Alega

  Marine Protected Area.” While it is not entirely clear, Plaintiffs appear to allege

  that the “interference” took place in the context of the pending above-described

  action, HCLT #28-2020.

        Specifically, Plaintiffs’ allege that, on November 12, 2020, Justice Kruse

  ordered AST Telecom to clean certain detritus on Alega. (ECF No. 14 at 11.)

  Then, at a hearing on March 31, 2021, Justice Kruse called Defendant McGuire to

  the bench and engaged in an “illegal ex parte communication” in violation of the

  American Bar Association Judicial Code of Conduct (“ABA Judicial Code”). Id.

  at 12. Next, Justice Kruse “change[d] his position” and ordered that there would

  be “no clean up of pollution.” Id.

        It is unclear what order Plaintiffs are referring to. However, Plaintiffs have

  brought suit against the Justice Kruse and the Secretary9 to seek an injunction

  stopping Justice Kruse from interfering with the clean up of Alega, id. at 26-27,




  9
   Plaintiffs do not take any issue with the Secretary’s conduct. Instead, they seek
  “to compel her to . . . coerce [Justice Kruse] to stop interfering with the cleanup [of
  Alega].” ECF No. 14 at 26-27. Thus, there is no apparent basis for any individual
  capacity claim against the Secretary. Ministerio Roca Solida v. McKelvey, 820
  F.3d 1090, 1093-96 (9th Cir. 2016) (if equitable relief sought requires official
  government action, an individual capacity claim cannot provide such relief).
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  and also seeking $200,000 in damages from Justice Kruse for interfering with the

  cleanup. Id. at 27.

        Plaintiffs further allege that the Faamuli Plaintiffs have certain land rights to

  Alega, ECF No. 14 at 28, the issue that is currently pending before the OSA and

  the basis for the stay of HCLT #28-2020 and HCCA #03-2021. Plaintiffs seek a

  declaration granting the Faamuli Plaintiffs land rights. It is unclear how the

  Secretary or Justice Kruse are implicated by such claims or in such relief.

        D.     The Motion for TRO

        On May 19, 2021, Plaintiffs filed a Motion for TRO, seeking:
         A declaration that the Faamuli Plaintiffs have land rights to Alega; and
         An injunction preventing Justice Kruse and Defendant McGuire from
          “interfering with the cleanup of pollution” on Alega.
  (ECF No. 17 at 25.)
        On May 19, 2021, at the request of the Court, Plaintiffs filed a Supplemental

  Memorandum, setting forth the legal bases for their claims. (ECF No. 33.)

  Plaintiffs assert that the basis for their claims against the Federal Defendants are

  (1) the ABA Judicial Code; (2) “interference with cleanup of pollution on the

  beach habitat of endangered and threatened Green and Hawksbill turtles on the

  private Alega Marine Protected Area. . . and therefore are in association with

  violations of the Endangered Species Act”; (3) 28 U.S.C. §§ 351-364; and (4) ex

  parte communication in violation of Plaintiffs’ due process rights, pursuant to 42


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  U.S.C. § 1983.10 (ECF No. 33 at 9-10.)

  III.   STANDARDS OF REVIEW FOR DISMISSAL

         A.    Dismissal Pursuant to Rule 12(b)(1)

         Where subject matter jurisdiction is lacking, dismissal pursuant to Rule

  12(b)(1) is proper. Safe Air For Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir.

  2004). Federal courts have limited jurisdiction, so it is “presumed that a cause lies

  outside [the] limited jurisdiction, and the burden of establishing the contrary rests

  upon the party asserting jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am.,

  511 U.S. 375, 377 (1994) (internal citations omitted). A challenge to a court’s

  subject matter jurisdiction may be facial or factual. In a facial attack, the Court

  must accept the factual allegations in plaintiff's complaint as true. Leite v. Crane

  Co., 749 F.3d 1117, 1121 (9th Cir. 2014). In a factual attack, the challenger can

  contest the plaintiff’s factual allegations by introducing evidence outside the

  pleadings. Id.

         B.    Dismissal Pursuant to Rule 12(b)(2)

         On a motion to dismiss for lack of personal jurisdiction, pursuant to Fed. R.




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    Except for the ABA Judicial Code, all the legal bases were first raised in the
  Supplemental Memorandum, and thus, are not properly before the Court.
  Diamond S.J. Enter. v. City of San Jose, No. 18-CV-01353-LHK, 2018 WL
  5619746, at *6 (N.D. Cal. Oct. 29, 2018) (cannot amend complaint through
  briefing). However, Federal Defendants respond to each of these purported bases
  to preserve all rights.
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  Civ. P. 12(b)(2), the plaintiff bears the burden of establishing that jurisdiction is

  proper. Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th Cir.

  2011). Although the court must take uncontested facts in the complaint as true, it

  may not assume the truth of those that are contradicted by affidavit. Paige v. Pulse

  Bev. Corp., No. CV 16-00090 ACK-RLP, 2017 WL 11139681, at *2 (D. Haw.

  Nov. 9, 2017). Further, “‘bare bones’ assertions of minimum contacts with the

  forum or legal conclusions unsupported by specific factual allegations will not

  satisfy a plaintiff's pleading burden.” Id. .

        C.     Dismissal Pursuant to Rule 12(b)(6)

        Dismissal for failure to state a claim, pursuant to Fed. R. Civ. P. 12(b)(6), is

  appropriate “where the complaint lacks a cognizable legal theory or sufficient facts

  to support a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr.,

  521 F.3d 1097, 1104 (9th Cir. 2008). To survive a motion to dismiss, a plaintiff

  must allege “enough facts to state a claim to relief that is plausible on its face.”

  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). This “facial plausibility”

  standard requires a plaintiff to allege facts that add up to “more than a sheer

  possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662,

  678 (2009). On a 12(b)(6) motion, a court must accept as true all allegations of

  material fact, but is not those that are “merely conclusory, unwarranted deductions

  of fact, or unreasonable inferences.” Sprewell v. Golden State Warriors, 266 F.3d


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  979, 988 (9th Cir. 2001). Determining the plausibility of a claim is a “context-

  specific task that requires the reviewing court to draw on its judicial experience

  and common sense.” Chavez v. United States, 683 F.3d 1102, 1109 (9th Cir. 2012)

  (quoting Iqbal, 556 U.S. at 679).

  IV.   ARGUMENT

        Plaintiffs apparently seek this Court to intervene in matters pending in the

  High Court, related to the clean up of, and land rights to, Alega. Plaintiffs’ claims

  against the Federal Defendants fail on several grounds, and Plaintiffs have not

  shown entitlement to a TRO.

        A.     Plaintiffs’ Amended Complaint Should Be Dismissed

               1.     Plaintiffs Lack Standing

        As a threshold matter, Plaintiffs’ claims against the Federal Defendants must

  be dismissed because Plaintiffs lack Article III standing to sue. A party invoking a

  federal court’s jurisdiction bears the burden of establishing his standing. Lujan v.

  Defs. of Wildlife, 504 U.S. 555, 561 (1992). To satisfy this burden, Plaintiffs must

  establish an “injury in fact,” consisting of “an invasion of a legally protected

  interest which is (a) concrete and particularized, and (b) actual or imminent, not

  conjectural or hypothetical.” Id. at 560 (internal citations and quotation marks

  omitted). Second, Plaintiffs must demonstrate the existence of “a causal

  connection between the injury and the conduct complained of[.]’” Id. (internal


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  alteration marks omitted). Finally, “it must be ‘likely,’ as opposed to merely

  ‘speculative,’ that the injury will be ‘redressed by a favorable decision.’” Id. at

  561 (internal citation omitted).

        First, Plaintiffs fail to establish an injury in fact. Plaintiffs’ vague reference

  to “interference” with the clean-up of pollution is insufficient to identify an injury

  in fact. It is unclear what Plaintiffs view as interference, or how that interference is

  causing concrete and particularized harm to Plaintiffs. There does not appear to be

  any order preventing the clean-up of Alega. Instead, it appears that the issue of the

  clean-up of Alega is still pending before the High Court in HCLT #28-2020.

        Second, Plaintiffs fail to establish causation. There is no causal link

  between the alleged ex parte communication (the conduct complained of) and the

  supposed injury (interference with the clean-up of Alega). Plaintiffs have not

  presented any evidence, nor any plausible theory, as to how the supposed ex parte

  communication (or any other conduct by the Federal Defendants) caused any harm.

  To the contrary, Defendant McGuire has submitted a declaration and supporting

  evidence, stating the communication was wholly unrelated to the Alega matter, and

  instead related to the payment of bar membership fees.11 (ECF No. 79-2 at ¶ 6.).


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    Further, to the extent Plaintiffs allege some injury related to land rights (in part,
  they seek a declaration finding that the Faamulis have the right to administer
  Alega), the relief sought by Plaintiffs appears to be attenuated from any alleged
  misconduct by the Federal Defendants. Moreover, as Plaintiff Hueter is merely a
  resident of Alega (and does not purport to have any land rights), he lacks standing
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        Finally, it is unclear how the alleged injuries will be redressed by a favorable

  decision of this Court. Plaintiffs do not contend that the Federal Defendants are

  responsible for the pollution or clean-up of any pollution or identify how they are

  “interfering.” Instead, the clean-up of pollution appears to be the subject of a

  different actions filed in this Court and pending in the High Court. A ruling

  against the Federal Defendants cannot result in the relief Plaintiffs seek.

               2.     This Court Lacks Personal Jurisdiction Over Justice Kruse

        Dismissal is also proper because this Court lacks personal jurisdiction over

  Justice Kruse. To exercise personal jurisdiction over a non-resident defendant, the

  defendant must have at least “minimum contacts” with the relevant forum such that

  the exercise of jurisdiction “does not offend traditional notions of fair play and

  substantial justice.” Int’l Shoe Co. v. Wash., 326 U.S. 310, 316 (1945).12

        “For general jurisdiction to exist over a nonresident defendant . . . the

  defendant must engage in continuous and systematic general business contacts, that

  approximate physical presence in the forum state.” Schwarzenegger v. Fred

  Martin Motor Co., 374 F.3d 797, 801 (9th Cir. 2004) (internal quotations and


  to bring such a claim. Further, Plaintiff Heuter is not a party to HCLT #28-2020.
  Thus, it is unclear how he could be injured by the supposed ex parte
  communication.
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   Hawaii’s long arm statute is coextensive with federal due process requirements.
  Han v. Yangrai Cho, No. CV 18-00277 HG-KJM, 2019 WL 1300070, at *2 (D.
  Haw. Mar. 21, 2019), aff'd sub nom. Han v. Cho, 804 F. App'x 864 (9th Cir. 2020).

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  citations omitted). Here, Justice Kruse lives in American Samoa and all of his

  work is conducted in American Samoa. See Ex. “I” ¶ 3 to Spector Decl. Thus,

  this Court lacks general jurisdiction over Justice Kruse.

        To exercise specific jurisdiction over Justice Kruse, among other

  requirements, the claims must arise out of Hawaii-related activities. Barlow, 2019

  WL 5929736, at *7 n.11 (referencing Hawaii’s long arm statute, Haw. Rev. Stat.

  § 634-65); see also Schwarzenegger, 374 F.3d at 802 (setting forth a three-part test

  for specific jurisdiction). Plaintiffs’ claims wholly relate to activity that occurred

  in American Samoa, which are entirely unrelated to Hawaii. See, e.g., ECF No. 14

  at 14 (events giving rise to the claim occurred in American Samoa).

        Further, there is no indication that Chief Justice Kruse “purposefully

  direct[ed] his activities” at the District of Hawaii or its residents, nor is there any

  indication that he “purposefully avail[ed] himself of the privilege of conducting

  activities” in the District of Hawaii. Schwarzenegger, 374 F.3d at 802; see also Ex.

  “I” ¶ 3 to Spector Decl. (all work by Justice Kruse occurs in America Samoa). Thus,

  this Court lacks personal jurisdiction over the claims against Justice Kruse.

               3.     Abstention is Proper

        Even if the various jurisdictional, and other deficiencies, did not exist, this

  Court should abstain from exercising jurisdiction over this case. The Younger

  abstention doctrine applies, and requires dismissal, if the following requirements


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  are met: (1) a state-initiated proceeding is ongoing; (2) the proceeding implicates

  important state interests; (3) the federal plaintiff is not barred from litigating

  federal constitutional issues in the state proceeding; and (4) the federal court action

  would enjoin the proceeding or have the practical effect of doing so, i.e., would

  interfere with the state proceeding in a way that Younger disapproves. San Jose

  Silicon Valley Chamber of Commerce Political Action Comm. v. City of San Jose,

  546 F.3d 1087, 1092 (9th Cir. 2008).

        Although it is unclear how Justice Kruse is “interfering with” the clean-up of

  Alega, Plaintiffs appear to be pointing to some interlocutory ruling in HCLT #28-

  2020, an ongoing proceeding in the territorial court. The proceeding implicates

  important state interests in that the determination of land rights in Alega is of

  special interest to American Samoan court system, which has specific procedures

  to address American Samoa’s unique system of land rights. See, e.g., A.S.C.A.

  § 43.0202. To the extent Plaintiffs raise a constitutional claim (although such a

  constitutional claim does not appear to be the focus of their allegations), they may

  raise the claim in the American Samoan proceeding. Finally, the rulings sought by

  Plaintiffs would usurp power from American Samoan court system, in a way

  Younger disapproves. See Davies v. Doi, CV. NO. 08-00548 DAE-LEK, 2009 WL

  1561579, at *4 (D. Haw. June 2, 2009) (abstention appropriate where plaintiffs

  sought injunctive relief against state court judge). Plaintiffs should not be


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  permitted to forum shop and collaterally attack an interlocutory decision of the

  territorial court, especially where the territorial court provides an appropriate venue

  to decide Plaintiffs’ arguments.13 Thus, the Younger abstention doctrine supports

  the dismissal of this action.

               4.     Plaintiffs Fail to State a Claim for Which Relief Can Be
                      Granted

        Plaintiffs’ Supplemental Memo (ECF No. 33) argues the bases for their

  claims against the Federal Defendants are (1) ex parte communication in violation

  of Plaintiffs’ due process rights, pursuant to 42 U.S.C. § 1983; (2) violation of the

  ABA Judicial Code; (3) interference with the cleanup of pollution, in association

  with violations of the Endangered Species Act; (4) and 28 U.S.C. §§ 351-364.

        All of the claims relate to Justice Kruse’s official conduct in connection with

  him presiding over proceedings pending in HCLT #28-2020. Even if the claims

  were jurisdictionally proper, which is far from clear, they still fail.

                      a.     Plaintiffs’ Section 1983 claim fails.

        Plaintiffs point to 42 U.S.C. § 1983 as a basis for their claims against Justice

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    Insofar as Plaintiffs challenge a final judgment of the High Court, the Rooker-
  Feldman doctrine provides that federal courts lack subject matter jurisdiction over
  a case that is a de facto appeal of a final state court judgment. Bianchi v.
  Rylaarsdam, 334 F.3d 895, 898 (9th Cir. 2003); Lyons v. Pac. Cnty. Clerk, NO.
  C19-5059RBL, 2019 WL 1620407, at *2–3 (W.D. Wash. Apr. 16, 2019), aff’d,
  804 F. App'x 824 (9th Cir. 2020). Additionally, to the extent this Court has
  concurrent jurisdiction over action, abstention is proper pursuant to the Colorado
  River abstention doctrine, which promotes “[w]ise judicial administration.” Colo.
  River Water Conserv. Dist. v. United States, 424 U.S. 800, 817 (1976).
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  Kruse. Specifically, Plaintiffs allege that Justice Kruse violated their due process

  rights by having an ex parte communication with another individual during a

  hearing in HCLT #28-2020.

        Section 1983 provides:

               Every person who, under color of any statute, ordinance,
               regulation, custom, or usage, of any . . . Territory . . .
               subjects, or causes to be subjected, any citizen of the
               United States or other person within the jurisdiction
               thereof to the deprivation of any rights, privileges, or
               immunities secured by the Constitution and laws, shall be
               liable to the party injured in an action at law, suit in
               equity, or other proper proceeding for redress, except
               that in any action brought against a judicial officer for
               an act or omission taken in such officer's judicial
               capacity, injunctive relief shall not be granted unless a
               declaratory decree was violated or declaratory relief was
               unavailable.
  42 U.S.C. § 1983 (emphases added).
        While it is true that Justice Kruse was acting under territorial law, Plaintiffs’

  Section 1983 claim against him is not viable for several reasons. First, to the

  extent Plaintiffs bring a claim against Justice Kruse in his “official capacity,” the

  claim would be viewed as a claim against “American Samoa,” and American

  Samoa is not a “person” for the purposes of Section 1983. Majhor, 518 F. Supp.

  2d 221 (American Samoan officers acting in their official capacities are not subject

  to suit under Section 1983).14


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    Although Plaintiffs do not appear to be bringing a Section 1983 claim against the
  Secretary, such a claim is barred by sovereign immunity. “Section § 1983 does not
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        Second, to the extent Plaintiffs bring a Section 1983 claim against Justice

  Kruse in his individual capacity, judicial immunity bars suit. While it is not

  entirely clear, Plaintiffs appear to seek an injunction “preventing [Justice Kruse]

  from interfering with the cleanup of pollution on the land or in waters of [Alega].”

  (ECF No. 17 at 25.) Section 1983 expressly immunizes judicial officer against

  suits for injunctive relief, unless a declaratory decree was violated or declaratory

  relief unavailable. 42 U.S.C. § 1983; Yellen v. Hara, No. CIV. 15-00300 JMS,

  2015 WL 4877805, at *5 (D. Haw. Aug. 13, 2015). Here, no declaratory relief was

  violated. Further, declaratory relief for judicial actions are ordinarily available

  only by appealing the judge’s order. Id.; see also Olsen v. Idaho State Bd. of Med.,

  363 F.3d 916, 922-23 (9th Cir. 2004) (judges entitled to absolute immunity from §

  1983 liability for acts directly related to their adjudicatory function). Here, if

  Plaintiffs are dissatisfied with a ruling in HCLT #28-2020, they may appeal the

  final decision to the Appellate Division of the High Court. A.S.C.A. § 3.0208(c).

  Plaintiffs should not be permitted to circumvent the appeal process.15

        Third, even if the suit was not barred by judicial immunity, Plaintiffs do not



  waive sovereign immunity of the United States, its agencies, and federal officials
  in their official capacities.” Lyndon v. United States, Civil No. 20-00034 JMS-RT,
  2020 WL 3405530, at *5 (D. Haw. June 19, 2020).
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    Moreover, it is unclear how Plaintiffs can state a claim against Justice Kruse “in
  his individual capacity” based on a judicial action, where the relief sought appears
  to be some sort of ruling in connection with HCLT #28-2020.
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  identify a constitutional violation. Plaintiffs do not plausibly allege that an ex

  parte communication violated their constitutional rights, or even related to, Alega.

  An ex parte communication, without more, does not establish a violation of due

  process. See Lachapelle v. City of El Cajon, 142 F.3d 444 (9th Cir. 1998).

  Plaintiffs claim that, after the ex parte communication on March 31, 2021, they

  received an adverse ruling preventing the clean-up of Alega. But, there is no

  showing that any ex parte communication played a role in an ensuing adverse

  decision. Moreover, it is unclear what ruling Plaintiffs take issue with or how

  Justice Kruse is “preventing” the clean-up of Alega. Thus, Plaintiffs’ Section 1983

  claim must be dismissed.

                       b.      Plaintiffs’ claim for violation of the ABA Judicial
                               Code of Conduct fails.

         Plaintiffs also allege that Justice Kruse violated the ABA Judicial Code by

  engaging in “ex parte” communication with Defendant McGuire. First, the ABA

  Judicial Code is not legally binding upon Justice Kruse, an Article IV judge.

  Further, the ABA Judicial Code does not give rise to a private cause of action.16


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    See ABA Judicial Code, Scope, at 7 (“The Code is not designed or intended as a
  basis for civil . . . liability. Neither is it intended to be the basis for litigants . . . to
  obtain tactical advantages in proceedings before a court.”) (available at
  https://www.americanbar.org/content/dam/aba/administrative/professional_respons
  ibility/2011_mcjc_preamble_scope_terminology.pdf); cf. Church of Scientology
  Int’l v. Kolts, 846 F. Supp. 873, 882 (C.D. Cal. 1994) (no private right of action
  under Judicial Code applicable to U.S. judges).

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  Moreover, Plaintiffs’ conclusory allegations regarding the supposed improper

  nature of the communication between Defendant McGuire and Justice Kruse are

  implausible.17 Plaintiffs’ ABA Judicial Code claims must be dismissed.

                      c.     Plaintiffs fail to state a claim under 28 U.S.C. § 351.

        Plaintiffs also fail to state a claim for violation of 28 U.S.C. § 351, et seq.

  That statute provides the procedure for filing a complaint of judicial misconduct by

  a federal judge and, as an initial matter, has no applicability under the

  circumstances of this case. See Hill v. Hawks, Civ. A. No. 12-364, 2012 WL

  12905803, at *2 (E.D. Va. Aug. 30, 2012), aff’d, 515 F. App’x 234 (4th Cir. 2013)

  (“Nor do the other possible sources of jurisdiction referenced by Plaintiff in her

  narrative Complaint provide a valid basis for jurisdiction. 28 U.S.C. § 351

  provides that complaints about federal judges may be filed in the court of appeals

  for the circuit in which the judge sits. Judge Hawks is not a federal judge, and this

  Court is not an appellate court; so the statute has no applicability to Plaintiff’s

  claims.”); Meaamaile v. Am. Sam., 550 F. Supp. 1227, 1235 (D. Haw. 1982)

  (recognizing that American Samoa courts are not Article III courts).

        Moreover, the filing of a complaint under § 351 does not entitle the


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    Defendant McGuire submitted a declaration with supporting evidence stating
  that the conversation dealt with payment of bar dues and had nothing to do with
  Alega or the lawsuit. (ECF No. 79-2 at ¶ 6.) Although not properly considered on
  a motion to dismiss under 12(b)(6), the declaration undermines any showing with
  respect to a due process violation with regards to Plaintiffs’ Motion for TRO.
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  complainant to any individual relief. Ponton v. U.S. Ct. of Appeals, No. CIV. 10-

  2213-JBS, 2011 WL 1045035, at *3 (E.D. Pa. Mar. 22, 2011) (citing 28 U.S.C.

  §§ 354-355 (authorizing particular actions by Judicial Council or Judicial

  Conference in response to complaint of misconduct)). Thus, Plaintiffs cannot state

  a claim pursuant to 28 U.S.C. § 351, et seq.

                      d.     Plaintiffs’ Endangered Species Act claim fails.

        To the extent Plaintiffs reference an “association with” violations of the

  Endangered Species Act (“ESA”)18, Federal Defendants do not interpret this action

  as alleging an ESA claim. The ESA is the subject of a different action filed by

  Plaintiffs in this Court, Case No. 21-00207.

        However, to the extent Plaintiffs attempt to allege an ESA claim against

  Justice Kruse and/or the Secretary, such a claim fails. First, it is jurisdictionally

  deficient because Plaintiffs failed to provide the 60-day notice required by 16

  U.S.C. § 1540(g) prior to filing a citizen suit. Sw. Ctr. for Biological Diversity v.

  U.S. Bureau of Reclamation, 143 F.3d 515, 520 (9th Cir. 1998) (dismissing action

  for lack of jurisdiction); see also Klamath-Siskiyou Wildlands Ctr. v. MacWhorter,

  797 F.3d 645, 647 (9th Cir. 2015). Further, Plaintiffs’ allegations do not identify

  any “agency action” by Justice Kruse or the Secretary that violates the ESA. See


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    Similar to the due process allegation, this allegation was first raised in the
  Supplemental Memorandum (ECF No. 33 at 10). Failure to raise this claim in the
  Amended Complaint alone is reason for dismissal.
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  also 16 U.S.C. § 1536(a)(2) (defining agency action under the ESA); 50 C.F.R. §

  402.02 (same). Even if Plaintiffs were to attempt to bring an ESA claim based on

  a supposed failure of Justice Kruse or the Secretary to require the cleanup of

  pollution, such a claim does not give rise to an ESA action against the government.

  See Salmon Spawning & Recovery All. v. Ahern, No. C05-1878Z, 2010 WL

  890047, at *3 (W.D. Wash. Mar. 9, 2010) (“The alleged failure of Customs and

  FWS to enforce the salmon import ban does not constitute agency action within the

  meaning of ESA Section 7(a)(2).”); see also Karuk Tribe of Cal. v. U.S. Forest

  Serv., 681 F.3d 1006, 1021 (9th Cir. 2012) (the duty to consult is triggered only if

  “a federal agency affirmatively authorized, funded, or carried out the underlying

  activity” that affects listed species). Thus, Plaintiffs’ ESA claims fail.

                      e.     King v. Morton does not provide a basis for Plaintiffs’
                             claims against the Secretary.

        This Court lacks jurisdiction over the claims against the Secretary.19 In King

  v. Morton, the D.C. Circuit Court held that it had jurisdiction over a claim against

  the Secretary for the purpose of judging the Secretary’s administration of the

  government of American Samoa by constitutional standards and could order the

  Secretary to take action to correct constitutional deficiencies. 520 F.2d at 1144.




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    Additionally, the Amended Complaint does not allege any individual actions by
  the Secretary that personally harmed Plaintiffs. Thus, the individual capacity
  claims necessarily fail.
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  Here, the Amended Complaint does not allege a violation of any constitutional

  right. Further, the King court specifically stated that the plaintiff had exhausted his

  claim by appealing to the highest court in American Samoa. Id. at 114. Here,

  Plaintiffs are attempting to appeal an interlocutory ruling (or force a ruling) by a

  lower court. Based on the foregoing, King v. Morton does not provide a basis for

  this Court’s jurisdiction over the claims against the Secretary.

               B.      Plaintiffs’ Motion for TRO Should Be Denied

        A temporary restraining order is “an extraordinary and drastic remedy” and

  can only be issued if Plaintiffs meet the burden of establishing various factors.

  Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008) (citation omitted). The plaintiff must

  show (1) a likelihood of success on the merits; (2) a likelihood of suffering

  irreparable harm in the absence of preliminary relief; (3) that the balance of

  equities tips in his favor, and (4) that an injunction is in the public interest. Id. at

  20; see also Yellen, 2015 WL 4877805, at *3–4 (standard for temporary restraining

  order same as for preliminary injunction).20

        First, as discuss supra § IV.A., Plaintiffs have virtually no chance of

  succeeding on the merits of their claims. To the contrary, the Amended Complaint



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    A TRO may still issue upon a showing that there are “‘serious questions going to
  the merits’ – a lesser showing than likelihood of success on the merits,” if the
  “balance of hardships tips sharply in the plaintiff’s favor,” and the other two
  Winter factors (irreparable harm and public interest) are satisfied. All. For The
  Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).
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  should be dismissed. This alone is fatal to Plaintiffs’ Motion for TRO.

        Second, Plaintiffs fail to establish irreparable harm. Here, the relief

  Plaintiffs seek relates to the determination of land and water rights in Alega and

  the supposed interference with the cleanup of pollution in Alega. The first issue is

  currently being determined in accordance with the procedure set forth in A.S.C.A.

  § 43.0302. On the latter issue – interference with the cleanup of pollution at Alega

  – it is unclear how Plaintiffs are ‘interfering.’ It appears that Plaintiffs may be

  pointing to the stay in HCLT #28-2020, pending the determination of the land

  ownership issue. However, there does not appear to be any order that prevents the

  clean-up of any pollution. Moreover, if Plaintiffs object to any final decision, they

  may appeal to the Appellate Division of the High Court. Thus, there is an adequate

  remedy at law by appeal. See Yellen, 2015 WL 4877805, at *6; Davies, 2009 WL

  1561579 (denying motion for declaratory relief as to judicial act).

  V.    CONCLUSION

        For the foregoing reasons, Plaintiffs’ Motion for TRO (ECF No. 17)

  should be denied, and the Amended Complaint (ECF No. 14) dismissed.

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        DATED: July 16, 2021 at Honolulu, Hawaii.

                                     JUDITH A. PHILIPS
                                     Acting United States Attorney
                                     District of Hawaii

                                        /s/ Sydney Spector
                                     By______________________
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                                     Attorneys for Federal Defendants




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